
34 Mich. App. 130 (1971)
190 N.W.2d 739
PEOPLE
v.
MAY
Docket No. 10412.
Michigan Court of Appeals.
Decided May 26, 1971.
Frank J. Kelley, Attorney General, Robert A. Derengoski, Solicitor General, Thomas G. Plunkett, Prosecuting Attorney, and Frank R. Knox, Assistant Prosecuting Attorney, for the people.
Curtis Rundell, for defendant on appeal.
Before: DANHOF, P.J., and FITZGERALD and QUINN, JJ.
PER CURIAM.
Defendant seeks reversal of his jury conviction and sentence for uttering and publishing a forged instrument, MCLA § 750.249 (Stat Ann 1962 Rev § 28.446). He contends reversible error was committed because the prosecuting attorney was not required to indorse and produce an alleged res gestae witness. The record indicates that this witness was known to defendant prior to *131 trial and defendant failed to move at trial for the indorsement of the witness. The question presented was not saved for review. People v. Love (1969), 18 Mich App 228, 231.
Affirmed.
